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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division

 ELIZABETH SINES, SETH WISPELWEY,
 MARISSA BLAIR, APRIL MUNIZ,
 MARCUS MARTIN, NATALIE ROMERO,
 CHELSEA ALVARADO, THOMAS BAKER
 and JOHN DOE,
                       Plaintiffs,
 v.

 JASON KESSLER, RICHARD SPENCER,
 CHRISTOPHER CANTWELL, JAMES       Civil Action No. 3:17-cv-00072-NKM
 ALEX FIELDS, JR., VANGUARD
 AMERICA, ANDREW ANGLIN,
 MOONBASE HOLDINGS, LLC, ROBERT
 “AZZMADOR” RAY, NATHAN DAMIGO,
 ELLIOT KLINE a/k/a/ ELI MOSLEY,
 IDENTITY EVROPA, MATTHEW
 HEIMBACH, MATTHEW PARROTT a/k/a
 DAVID MATTHEW PARROTT,
 TRADITIONALIST WORKER PARTY,
 MICHAEL HILL, MICHAEL TUBBS,
 LEAGUE OF THE SOUTH, JEFF SCHOEP,
 NATIONAL SOCIALIST MOVEMENT,
 NATIONALIST FRONT, AUGUSTUS SOL
 INVICTUS, FRATERNAL ORDER OF THE
 ALT-KNIGHTS, MICHAEL “ENOCH”
 PEINOVICH, LOYAL WHITE KNIGHTS OF
 THE KU KLUX KLAN, and EAST COAST
 KNIGHTS OF THE KU KLUX KLAN a/k/a
 EAST COAST KNIGHTS OF THE TRUE
 INVISIBLE EMPIRE,

                            Defendants.

 PLAINTIFFS’ REPONSE REGARDING DEFENDANT CHRISTOPHER CANTWELL’S
   ECF FILINGS 1062, 1063, 1064, 1065, 1066, 1077, 1078, 1084, 1085, 1086, 1087, 1088,
                  1089, 1090, 1096, 1097, 1098, 1099, 1102, 1103
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     Defendant Christopher Cantwell has made twenty-two seriatim filings this month, including

 ten that were docketed in a single day (September 20, 2021). The majority of these filings are

 untimely, disingenuous and/or frivolous. 1              Plaintiffs address below ten of the motions that

 Cantwell filed seeking affirmative relief in order to seek guidance from the Court as to whether

 the Court deems any further response necessary or appropriate. 2

     •    Kline, Vanguard America and Nationalist Social Movement Sanctions. In
          Cantwell’s “Motion for Leave to File Instanter” (ECF 1062), he seeks leave to file
          untimely objections to the Report and Recommendations of Judge Hoppe, which
          recommended that evidentiary sanctions be entered against Defendants Kline,
          Vanguard America, and Nationalist Socialist Movement (ECF 982, June 23, 2021),
          and that a Default Judgment be entered against the Nationalist Front (ECF 967,
          June 7, 2021). Cantwell argues that his deadline to object should be extended for
          “excusable neglect” because he was unaware of his “procedural right to object”
          while incarcerated. ECF 1062 at 2. However, a pro se litigant’s “ignorance of the
          law and relevant procedures is not sufficient to demonstrate excusable neglect. The
          Fourth Circuit has expressly stated that ‘inadvertence, ignorance of the rules, or
          mistakes construing the rules do not usually constitute excusable neglect.’” Atakulu
          v. Maryland Dep’t of Human Res., No. GJH-14-0904, 2014 WL 2927772, at *4 (D.
          Md. June 26, 2014) (quoting Thompson, 76 F.3d at 533). “Although pleadings
          prepared by pro se litigants are to be liberally construed, the same cannot be said
          for the interpretation of procedural rules in ordinary civil litigation.” Awah v.
          Midland Credit Mgmt. of Am., No. 10-cv-885, 2011 WL 3821600, at *2 (D. Md.
          Aug. 26, 2011) (granting motion to strike untimely complaint filed by pro se
          plaintiff), aff’d, 463 F. App’x 193 (4th Cir. 2012).

     •    Request for Continuance. In Cantwell’s “Motion to Amend Discovery, Pretrial,
          and Trial Schedules (inc. Doc 991) and to Extend Filing Deadlines” (ECF 1099),
          Cantwell asks the Court – five weeks before trial – to “reconsider its prior
          construction of his timely motion to sanction the Plaintiffs” by continuing the trial
          date and other deadlines because he was delayed in accessing certain discovery and
          case materials while incarcerated. ECF 1099 at 1-3. The Court has considered and
          rejected Cantwell’s motion for sanctions and there is no basis for the Court to

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   Plaintiffs note that Cantwell failed to meet and confer on a single one of these motions in violation of the Federal
 Rules. Counsel for Plaintiffs specifically informed Cantwell on September 20 of his obligation to meet and confer
 before burdening the Parties and the Court with motions practice.
 2
  Cantwell also filed a “Supplemental Motion to Exclude the Deposition Testimonies of Robert Isaacs ‘Baker’, Bradley
 Griffin, Dillion ‘Hopper’ Izarry, and Thomas Rousseau” (ECF 1102), as well as (often untimely) oppositions to
 motions previously filed by Plaintiffs (ECF 1055, 1064, 1087). Plaintiffs intend to deal with these filings separately.


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         reconsider, see ECF 951 at 2. This Court has also held numerous conferences and
         issued several orders regarding trial dates and scheduling in this action. E.g., ECF
         461; ECF 597; ECF 874; ECF 965; ECF 991. Dozens of lawyers, parties, and
         witnesses have made substantial logistical and financial commitments in reliance
         on the October 25 trial date and this eleventh hour request for a continuance from
         a single defendant is baseless.

     •   Discord Production. Cantwell moves the Court for “Discovery Sanctions against
         Plaintiffs for Failure to Timely Disclose the ‘Discord Production’” (ECF 1098),
         arguing that Plaintiffs did not “timely produce” or even “disclose” the Discord
         production to him until very recently. Many of the representations made within
         this frivolous motion are simply false. The substantial majority of the documents
         Plaintiffs received from Discord was produced to Cantwell in three separate
         productions made on November 30, 2018, February 7, 2019, and August 19, 2019,
         while Cantwell was represented by Mr. Kolenich. 3 There was a fraction of the
         Discord production that was produced to all Defendants on February 5, 2020, after
         Mr. Kolenich withdrew from representing Mr. Cantwell, which Plaintiffs were
         prohibited by the terms of the protective order from providing to pro se Defendants,
         including Cantwell. See Protective Order, ECF 167 at 3. Contrary to Cantwell’s
         claim that Plaintiffs did not “notice [sic] Cantwell of the existence of this material
         so that Cantwell could move to modify the protective order,” ECF 1098 at 1, in
         fact Plaintiffs sent Cantwell a production letter on February 5, 2020, stating in bold
         lettering the following: “Additional productions have been made containing
         documents designated HIGHLY CONFIDENTIAL only to those defendants
         represented by counsel, in accordance with Paragraph 5 of the Protective
         Order. See Protective Order, ECF No. 167, at 4.”

     •   Thomas Baker’s Initial Disclosures. Cantwell moves the Court “to Sanction
         Plaintiff Thomas Baker for Failure to make initial disclosures as required by Fed.
         R. Civ. P. 26” (ECF 1096), seeking frivolously drastic remedies that “Baker be
         barred from testifying at trial,” that all witnesses listed on his disclosures “also be
         barred from testifying at trial,” and that “Baker be barred from presenting evidence
         at trial that he was injured as the result” of the car attack. Id. at 1-2. Cantwell
         further seeks adverse inferences that fly in the face of reality – namely that Baker
         “refused to comply with the rules of the discovery” and that “had Baker disclosed
         the medical and other evidence, it would have shown that Baker” – whose hip was
         grievously injured from the devastating impact of Defendant Fields’ car causing
         him to fly over the hood – “was not injured . . . .” Id. at 2. Cantwell’s motion is
         littered with demonstrably inaccurate claims, such as that Baker’s initial disclosures
         were “due in 2017,” that Baker made his initial disclosures on August 30, 2021,
         and that the disclosures contain “evasive” answers given their redactions. Id. at 1-
         2. In fact, Plaintiffs did not add Baker as a Plaintiff until September 2019, after the

 3
   Cantwell similarly claims – falsely – that certain other pro se Defendants, including Mr. Spencer, did not receive
 Discord documents. Mr. Spencer, who was represented until the middle of 2020, received the entirety of the
 production. Robert Ray and Vanguard America also received productions of certain Discord documents during the
 times they were represented by counsel.


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       Court granted leave to amend Plaintiffs’ Complaint. See ECF 556; ECF 557. His
       initial disclosures were served on all represented Defendants in June of 2020.
       While Cantwell, who was incarcerated and pro se, was not served with the initial
       disclosures at the time, there was clearly no intent to shield from him the
       information contained within the disclosures. While Plaintiff Baker’s medical
       records were marked HIGHLY CONFIDENTIAL, and therefore unavailable to
       pro se defendants during the discovery period, each represented party had the
       documents well in advance of Baker’s deposition in July of 2020, which Defense
       counsel, who stood in precisely the same position as Cantwell regarding Baker’s
       injuries, used to question Baker. Those documents have since been de-designated
       and will be produced to Cantwell in advance of trial. For that reason, there is no
       conceivable prejudice from Cantwell’s failure to receive the initial disclosures
       while incarcerated in June 2020. In any event, there are only three medical
       personnel identified in the disclosures listed on Plaintiffs’ witness list, which
       Cantwell received, each of whom may or may not be called at trial.

   •   Antifa / “Woke Progressive Left”. Cantwell’s Motion “for a Determination that
       Animus against the Domestic Terror Organization Antifa and other Members of the
       Woke Progressive Left is not a form of ‘Class Based Invidiously Discriminatory
       (sic) Animus’ Prohibited by 42 USC §1985(3)” (ECF 1066) asserts that Plaintiffs
       are “members, supporters or affiliates” of Antifa and seeks a legal ruling that Antifa
       members are not a “protected class” and therefore animus directed toward Plaintiffs
       is “nopt (sic) prohibited by 42 U.S.C. §1985(3).” Id. at 1-2, 9. Although styled as
       a “motion in limine,” Cantwell’s submission is really a motion challenging the legal
       underpinning of Plaintiffs’ claims, which is more properly raised as a motion to
       dismiss. Motions to dismiss in this case are years overdue and Defendant Cantwell
       already filed at least three such motions, in which he failed to raise this argument
       at that time. See Motion to Dismiss, dated Nov. 15, 2017 (ECF 11); Motion to
       Dismiss for Failure to State a Claim Re: DE 175 Amended Complaint, dated Jan.
       26, 2018 (ECF 205); Pro Se Defendant Cantwell’s Letter of Status, Motion to
       Dismiss from this Suit, Motion to Sanction Plaintiffs for their Meritless Filings,
       dated Feb. 14, 2020 (ECF 664). Cantwell did not raise this argument in a
       dispositive motion, and the deadline for dispositive motions in this case has long
       since passed. ECF 597; see also ECF 952. Moreover, as a factual matter, Plaintiffs
       have never alleged they are members of Antifa or that they were attacked by
       Defendants on that basis. In raising this red herring, Cantwell improperly seeks to
       relitigate the Court’s Memorandum Opinion Denying Defendants’ Michael Hill,
       Michael Tubbs, and League of the South’s Motion for Summary Judgment (ECF
       1040). He should not be permitted to do so at this time.

   •   Assault, Battery, and KKK Act. Cantwell’s Motion “for a Determination that
       Simple Assault, Simple Battery, and/or, any other Act incapable of Causing Bodily
       harm but Involving the Use of Force is not a ‘badge or incident of slavery’
       proscribed by US Const. Amend XIII” (ECF 1017) seeks the preclusion of all of
       Plaintiffs’ claims under 42 U.S.C. § 1985(3) that are the result of any “act [by the
       Defendants] incapable of causing bodily harm but involving the use of force.” Id.
       at 3. This motion once again purports to be a motion in limine, but actually seeks

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         to eliminate several of Plaintiffs’ § 1985(3) claims by challenging Plaintiffs’ legal
         theory. Without reference to any expected evidence or testimony, Cantwell makes
         a purely legal argument in an effort to discard Plaintiffs’ claims. Again, Cantwell
         did not raise this argument in a dispositive motion, for which the deadline has
         expired. ECF 597; see also ECF 952. Thus, Cantwell’s motion is yet another
         untimely motion to dismiss that should be summarily denied at this stage.

     •   In Pari Delecto. Cantwell’s Motion “for a Determination that Plaintiffs’ Claims
         Arose Ex Turpi causa and Thus Are Barred In Pari Delicto” (ECF 1090) seeks a
         legal ruling barring Plaintiffs from presenting any of their claims to the jury on the
         ground that Plaintiffs’ “cause of action” is founded on Plaintiffs’ own “immoral or
         illegal acts.” Id. at 1. Cantwell alleges that three Plaintiffs (Willis, Romero and
         Wispelwey) behaved unlawfully or were in the company of others behaving
         unlawfully and thus “must not receive assistance from this court.” Id. at 5. Cantwell
         further raises the purely factual argument that Plaintiffs’ claims concerning injuries
         caused by Defendant Fields should be barred because Fields only accidentally
         struck Plaintiffs with his car as a result of Plaintiffs’ “aid[ing] and abet[ing]” a mob
         around Fields’ car. Id. at 7-8. Although Plaintiffs obviously take issue with much
         of Cantwell’s argument, the Court need not presently address the merits because it
         is plainly an untimely dispositive motion. Dispositive Motions were due on August
         7, 2020, ECF 597, and this Court already denied Defendant Richard Spencer’s
         attempts, proceeding pro se, to file untimely motions for summary judgment on
         October 19, 2020. See ECF 952.

     •   Jewish Animus. In two separate frivolous motions (ECF 1085, ECF 1088),
         Cantwell asks the Court “for a Determination that Bias Against those who Identify
         as ‘Jews’ is not a Form of ‘Class Based Invidiously Discriminatory Animus’
         Prohibited by 42 U.S.C. § 1985(3)”, and “to Exclude All Evidence of Defendants’
         Perceived Biases Against Those who Identify as ‘Jews.’” Mischaracterizing Fourth
         Circuit precedent, 4 Cantwell asserts that “bias against ‘Jews’ is not a form of ‘class
         based invidiously discriminatory animus’” and seeks the preclusion of all Plaintiffs’
         claims under 42 U.S.C. § 1985(3) and § 1986 that relate to “bias against Jews.”
         ECF 1085 at 2, 6. This is another purely legal question that should have been made
         by means of a dispositive motion before the applicable deadlines passed. ECF 597;
         see also ECF 952. And this Court specifically considered religious animus in
         denying Defendant Hill, Tubbs, and League of the South’s Motion for Summary
         Judgment on Plaintiffs’ § 1985(3) claims. See ECF 1040 at 48-51. Cantwell further
         argues that since 42 U.S.C. § 1985(3), in his mistaken view, does not apply to
         animus toward Jewish people, all evidence of Defendants’ animus toward Jewish
         people is irrelevant and should be excluded under Fed. R. Evid. 401, 402 and 403.

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   Cantwell erroneously claims (ECF 1085 at 1-2) that the Supreme Court opinion in Shaare Tefila Congregation v.
 Cobb, 481 U.S. 615 (1987), did not overturn the Fourth Circuit’s ruling in Shaare Tefila Congregation v. Cobb, 785,
 F.2d 523 (4th Cir. 1986). That is incorrect. The Supreme Court reversed the “judgment of the Court of Appeals” and
 held “Jews and Arabs were among the peoples then considered to be … within the protection of the statute.” Shaare,
 481 U.S. at 617-18; see also Ward v. Connor, 657 F.2d 45, 48 (4th Cir. 1981).



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        ECF 1088. This argument stems from a patently erroneous view of the scope of §
        1985(3), which Cantwell never appropriately raised in a timely fashion. See Ward
        v. Connor, 657 F.2d 45, 48 (4th Cir. 1981) (“[R]eligious discrimination, being akin
        to invidious racial bias, falls within the ambit of s 1985[3].”).

    •   Paper Copies. Last but not least, Cantwell moves the Court to “Compel Co-
        Defendants’ Fed. R. Civ. P. 26(a) Disclosures” and to “Compel Plaintiffs’
        Disclosure of the Deposition of Christopher Cantwell [transcript] and to Compel
        Plaintiffs to provide Paper Copies of All Filings” (ECF 1084). With regard to his
        requests for the deposition transcript and “all of the material previously provide to
        Cantwell in electronic format in paper format,” Plaintiffs are under no obligation to
        provide such a large volume of materials in paper format. See Fed. R. Civ. P.
        34(b)(2)(E)(iii); see also Fed. R. Civ. P. 30(f)(3).

        Given the dictates of Rule 11(b) and Rule 11(c)(3), as well as the Court’s inherent ability

 to strike frivolous motions, Mathis v. Martin, No. 8:13-CV-02597, 2013 WL 5609134, at *3 (D.

 Md. Oct. 11, 2013) (citing Fed. R. Civ. P. 12(f)), Plaintiffs do not believe that any of the above-

 described filings warrant the time and expense of a further response by Plaintiffs, especially at this

 late stage in the proceedings when preparation for trial is well underway.            Plaintiffs thus

 respectfully request the Court’s guidance on whether Plaintiffs should provide a more detailed

 response to any of the above-mentioned filings; of course, we would be happy to respond to any

 or all at greater length if Your Honor believes that would be of assistance to the Court.

        In addition, it has now become apparent that Cantwell, who has been proceeding pro se

 and has been afforded its corresponding protections and leniency, may be using another inmate,

 William A. White, to participate in this litigation and “ghost-write” his recent filings. See ECF

 1063 at 1 (“Christopher Cantwell … Moves this Court … To Provide Cantwell and his Lay

 Counsel, William A White, Adequate Access to The Electronic Materials…”); ECF 1063-2;

 compare ECF 1055 (handwritten filing written largely in first person) with ECF 1063 (typewritten

 filing written in third person). That provides yet another basis to deny these motions.

        Ghost writing plainly violates legal rules and only reinforces the inappropriate and

 harassing nature of Cantwell’s numerous recent filings, including ECF 1062, 1063, 1064, 1065,

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 1066, 1077, 1078, 1084, 1085, 1086, 1087, 1088, 1089, 1090, 1096, 1097, 1098, 1099, 1102, 1103.

 See Wojcicki v. SCANA/SCE&G, 947 F.3d 240, 244 (4th Cir. 2020) (“Allowing individuals to

 represent themselves pro se reflects a respect for the choice of an individual citizen to plead his or

 her own cause, but so does the bar preventing individuals without legal expertise from representing

 others.” (quotation omitted)); Greene v. United States Dep’t of Educ., No. 4:13cv79, 2013 U.S.

 Dist. LEXIS 143678, at *26-27 (E.D. Va. Oct. 1, 2013) (“During the course of this appeal it came

 to the Court’s attention that Greene, although proceeding pro se and receiving the forbearance

 afforded such status, was utilizing the services of a ghost writer for many of her filings. The Court

 emphasizes that the practice of ghost-writing is in no way permissible in the Eastern District of

 Virginia, or any federal court for that matter. Even if the ghost writer is not an attorney, such

 practice is still considered the unauthorized practice of law. Those who proceed pro se are afforded

 certain amounts of leniency that are not afforded represented parties. Ghost writing inexcusably

 abuses this leniency.”).

        Mr. White’s inappropriate conduct is well known to the judiciary. In 2008, he was

 convicted of soliciting the commission of a violent federal crime against a juror who had sat on a

 jury that convicted a white supremacist. See United States v. White, 698 F.3d 1005, 1008 (7th Cir.

 2012). He has also sent threatening messages to judges, U.S. Attorneys, and prosecutors. United

 States v. White, No. 7:08-cr-00054, 2021 U.S. Dist. LEXIS 66100, at *2 (W.D. Va. Apr. 5,

 2021). The federal facility where he is imprisoned has apparently placed him “on a mail restriction

 list and [he] is no longer allowed to correspond with any person by mail except his mother,

 attorneys, and the courts.” Id. at *2 n.2. Indeed, due to the nature of his own crime for which he

 is serving a sentence, Cantwell too has been housed in the “Communications Management Unit,”

 a facility intended to limit communications by an inmate population the facility may be concerned



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 may abuse their communication privileges.

                                                   * * *

        In light of the above, it is clear that Cantwell is seeking to tie up Plaintiffs in a slew of

 frivolous filings weeks before trial, when the parties’ time and effort would be better spent

 preparing the pretrial submissions ordered by the Court, see ECF 991, not to mention their

 presentations for trial, set to begin on October 25, 2021. Plaintiffs respectfully request that the

 Court summarily: (1) reject the above-referenced filings, including striking any filings that were

 written with the aid of Mr. White as a ghost writer, see, e.g., ECF 1062, 1063, 1064, 1065, 1066,

 1077, 1078, 1084, 1085, 1086, 1087, 1088, 1089, 1090, 1096, 1097, 1098, 1099, 1102, 1103; and

 (2) order that Cantwell is expressly forbidden from utilizing Mr. White or anyone else as a ghost

 writer going forward.

 Date: September 23, 2021

                                                      Respectfully submitted,



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                                                      Yotam Barkai (pro hac vice)
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                                           Counsel for Plaintiffs




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                                CERTIFICATE OF SERVICE

        I hereby certify that on September 23, 2021, I filed the foregoing with the Clerk of Court
 through the CM/ECF system, which will send a notice of electronic filing to:

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                                               Matthew Parrott, Traditionalist Worker Party
                                               and Matthew Heimbach

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         I hereby certify that on September 23, 2021, I also served the following non-ECF
 participants via mail and electronic mail:

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  richardbspencer@gmail.com                     USP Marion, 4500 Prison Rd.
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                                                Marion, IL 62959

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